AO 245B       (Rev. 09/1 I) .Judgment in a Criminal Case
              Sheet I



                                           UNITED STATES DISTRICT COURT
                                                           Southern District of New York
                                                                           )
              UNITED ST A TES OF AMERICA                                   )       JUDGMENT IN A CRIMINAL CASE
                                   v.                                      )
                      Ross William Ulbricht                                )
                                                                                   Case Number: S1 14-cr-00068-KBF-1
                                                                           )
                                                                           )       USM Number: 18870-111
                                                                           )
                                                                           )        Joshua Dratel
                                                                                   Defendant's Attorney
THE DEFENDANT:
D pleaded guilty to count(s)
D pleaded nolo contendere to count(s)
   which was accepted by the court.
ii(was found guilty on count(s)            2,4,5,6,7
                                         ~--------------------------------~

   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                            Offense Ended
 21 :841A=CD.F                      AIDING AND ABETTING DISTRIBUTION OF DRUGS OVE                               10/31/2013                2
 21:848.F                           CONTINUING CRIMINAL ENTERPRISE                                              10/31/2013                4

 18:1030A.F                         COMPUTER HACKING CONSPIRACY                                                 10/31/2013                5

       The defendant is sentenced as provided in pages 2 through           __9_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
[i(count(s)              UNDERLYING                        D is   \itare   dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                            5/29/2015
Counts One (1) and Three (3) are vacated by                                Date of Imposition of Judgment

the Court.

                                                                           Signature of Judge


                  USDCSDNY
                  DOCUMENT                                                  Katherine B. Forrest, USDJ
                                                                           Name and Title of Judge
                  ELECTRONICALLY FILED
                  DOC#:     UN                0 1 1015
                  DATE FILEd:




                                                                                                            111111 _ _ _ _ _ _ _ _ _ _ _ _ _ _
AO 24513   (Rev. 09/ 11) Judgment in a Criminal Case
           Sheet IA
                                                                             Judgment-Page   _ _       of
DEFENDANT: Ross William Ulbricht
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                                           ADDITIONAL COUNTS OF CONVICTION
Title & Section                  Nature of Offense                       Offense Ended
18:1028A.F                        FRAUD WITH IDENTIFICATION DOCUMENTS     10/31/2013

18: 1956-4999.F                   MONEY LAUNDERING CONSPIRACY             10/31 /2013              7




                                                                        1111 _ _ _ _ _ _ _ _ _ _ _ _ _ __
AO 2458        (Rev. 09/11) Judgment in Criminal Case
               Sheet 2 - Imprisonment

                                                                                                    Judgment - Page     3    of   9
DEFENDANT: Ross William Ulbricht
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                                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
    Counts Two (2) and Four (4): Life to run concurrently; Count (5): Five (5) Years to run concurrently; Count Six (6): Fifteen (15)
    Years to run concurrently; Count Seven (7): Twenty (20) Years to run concurrently.



      iZ1'   The court makes the following recommendations to the Bureau of Prisons:

    PLEASE SEE ADDITIONAL IMPRISONMENT TERMS PAGE FOR RECOMMENDATIONS.




      D The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
             D at                                       D a.m.    D p.m.    on

             D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             D before 2 p.m. on
             D as notified by the United States Marshal.
             D as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




             Defendant delivered on                                                     to

a                                   ____________ , with a certified copy of this judgment.



                                                                                                UNITED ST ATES MARSHAL


                                                                           By
                                                                                             DEPUTY UNITED ST ATES MARSHAL
AO 2458   (Rev. 09111) Judgment in a Criminal Case
          Sheet 2A - Imprisonment
                                                                                          Judgment-Page   4     of      9
DEFENDANT: Ross William Ulbricht
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                                          ADDITIONAL IMPRISONMENT TERMS
 It is respectfully recommended that the defendant be designated to FCI Petersburg I in Virginia in the event that the
 Bureau of Prisons waive the public safety factor with regard to sentence length. However, if the Bureau of Prisons is not
 inclined to waive the public safety factor, it is respectfully recommended that the defendant be designated to USP Tuscon,
 in Arizona, or, as a second choice, USP Coleman II, in Florida.
AO 24513      (Rev. 09/11) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                            Judgment-Page _ _ _ of
DEFENDANT: Ross William Ulbricht
CASE NUMBER: S1 14-cr-00068-KBF-1
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 Life on Counts Two (2) and Four (4) to run concurrently; Three (3) Years on Counts Five (5), Six (6) and Seven (7) to run
 concurrently.
        The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
D        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    l)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
  5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
  6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)       the defendant shall not associate with any IJersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
 JO)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or ,rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 31\ - Supervised Release
                                                                                      Judgment-Page        of
DEFENDANT: Ross William Ulbricht
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                                    ADDITIONAL SUPERVISED RELEASE TERMS
 The defendant shall submit his computer, person and place of residence to searched as deemed appropriate by the
 Probation Department.
AO 2458    (Rev 09/11) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                            Judgment - Page       of
DEFENDANT: Ross William Ulbricht
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                                               CRIMINAL MONET ARY PENAL TIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                                                                    Restitution
TOTALS             $ 500.00                                                  $                                 $


0    The detennination of restitution is deferred until
                                                                ---
                                                                             . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

0    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned P,ayment, unless specified otherwise in
     the priorit)' order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                                    Total Loss*        Restitution Ordered Priority or Percentage




TOTALS                              $                               0.00             $                  0.00


0    Restitution amount ordered pursuant to plea agreement $

O    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

O    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     D the interest requirement is waived for the               0     fine       0   restitution.

     0    the interest requirement for the           O   fine       O restitution is modified as follows:


* Findings for the total amount oflosses are required under Chapters I 09A, 110, 11 OA, and l l 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO 2458   (Rev. 09/11) Judgment in a Criminal Case
          Sheet SA - Criminal Monetary Penalties
                                                                                                 9_ _
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DEFENDANT: Ross William Ulbricht
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                    ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
 Forfeiture in the amount of $183,961,921.00 is Ordered.




                                                     ,,   ____________________________
AO 2458    (Rev. 09/J 1) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                           Judgment - Page   9      of      9
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                                                           SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A          Lump sum payment of$             500.00               due immediately, balance due

           0     not later than                                      , or
           D     in accordance            O C,         0    D,   O     E, or    O    F below; or

B     O    Payment to begin immediately (may be combined with                  oc,       0   D, or   O F below); or
C    D    Payment in equal . · - - - - - - . (e.g., weekly, monthly, quarterly) installments of $          _______ over a period of
          - - · ___ (e.g.. months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D    D     Payment in equal ---· . ______ ·-- (e.g., weekly, monthly, quarterly) installments of $                 over a period of
          _________ (e.g.. months or years), to commence         _____ (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    O     Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    O Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




0    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

0    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order:(!) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
